                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                           CASE NO. 3:24-CV-440-KDB-DCK

 KELLY MILLIGAN,                                       )
                                                       )
                 Plaintiff,                            )                ORDER
                                                       )
    v.                                                 )
                                                       )
 MERRILL LYNCH, PIERCE, FENNER &                       )
 SMITH, INC., et al.,                                  )
                                                       )
                 Defendants.                           )
                                                       )

         THIS MATTER IS BEFORE THE COURT on “Defendants’ Unopposed Motion To

File Certain Information In Their Reply In Support Of Their Motion For Summary Judgment

Under Seal” (Document No. 59) filed December 30, 2024. This motion has been referred to the

undersigned Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate review is

appropriate. Having carefully considered the motion and the record, and noting Plaintiff’s consent,

the undersigned will grant the motion.

         A party who seeks to seal any pleading must comply with the Local Rules of this Court.

Local Civil Rule (“LCvR”) 6.1 provides in relevant part as follows:

         LCvR. 6.1     SEALED FILINGS AND PUBLIC ACCESS.

                (a)     Scope of Rule. To further openness in civil case
                proceedings, there is a presumption under applicable common law
                and the First Amendment that materials filed in this Court will be
                filed unsealed. This Rule governs any party’s request to seal, or
                otherwise restrict public access to, any materials filed with the Court
                or used in connection with judicial decision- making. As used in
                this Rule, “materials” includes pleadings and documents of any
                nature and in any medium or format.

                (b)    Filing under Seal. No materials may be filed under seal
                except by Court order, pursuant to a statute, or in accordance with a




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                previously entered Rule 26(e) protective order.

                (c)     Motion to Seal or Otherwise Restrict Public Access. A
                party’s request to file materials under seal must be made by formal
                motion, separate from the motion or other pleading sought to be
                sealed, pursuant to LCvR 7.1. Such motion must be filed
                electronically under the designation “Motion to Seal.” The motion
                must set forth:

                       (1)     A non-confidential description of the
                       material sought to be sealed;
                       (2)     A statement indicating why sealing is
                       necessary and why there are no alternatives to filing
                       under seal;
                       (3)     Unless permanent sealing is sought, a
                       statement indicating how long the party seeks to have
                       the material maintained under seal and how the
                       matter is to be handled upon unsealing; and
                       (4)     Supporting statutes, case law, or other
                       authority.

LCvR 6.1. It appears that the requirements of LCvR 6.1(c)(1) through (4) have been adequately

met.

         By the instant motion, Defendants Merrill Lynch, Pierce, Fenner & Smith, Inc. (“Merrill

Lynch”) and Bank of America Corporation (“Bank of America”) (together, “Defendants”) seek to

file an unredacted version of “Defendants’ Reply In Support Of Their Motion For Summary

Judgment” (Document No. 60) under seal. (Document No. 59). Defendants contend this filing

includes “confidential compensation information” that should be sealed. Id.

         Having considered the factors provided in LCvR 6.1(c), the Court will grant the motion to

seal. Noting that the time for public response has not run to this motion, the Court will consider

any objection to this Order from non-parties as an objection to the motion, requiring no additional

burden for any non-party under the Federal Rules of Civil Procedure. See Local Rule 6.1(e).

         IT IS, THEREFORE, ORDERED that “Defendants’ Unopposed Motion To File Certain

Information In Their Reply In Support Of Their Motion For Summary Judgment Under Seal”


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(Document No. 59) is GRANTED. Document No. 60 shall remain under SEAL until otherwise

ordered by this Court.

       SO ORDERED.

                         Signed: December 31, 2024




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